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John E. Casperson

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Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE DlSTRlCT OF ALASKA
AT ANCHORAGE

CAPE GREIG, LLC,
Plaintiff,
V- IN ADMIRALTY

F/V PINTAIL, Official No. 531582, its Engines,
Machinery, Appurtenances, etc., ln Rem

and
Case No.
ANTHONY B. GABRIEL, In Personam

Defendants.

 

 

 

 

COMPLAINT TO FORECLOSE PREFERRED SHIP MORTGAGE IN REM AND
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Plaintiff Cape Greig, LLC (referred to at times hereafter as “Plaintiff”), alleges:
I.
This is a matter of admiralty and maritime jurisdiction under 46 U.S.C. § 31322
and § 31325 and Within the meaning of Fed. R. Civ. P. 9(h).
II.

At all times material herein, defendant F/V PINTAIL, Offlcial No. 531582, its

COMPLAINT TO FORECLOSE PREFERRED

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CAPE GREIG, LLC v. F/V PlNTA/L, et al. TELEPHONE (206) 292-ecoa

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engines, machinery, appurtenances, fishing rights, etc. (“Vessel”) was a vessel duly
documented under the laws of the United/ States and is owned by defendant Anthony
Gabriel. The Vessel is now, or will be during the pendency of this action, within this
district and subject to the jurisdiction of this Court.

III.

On or about June 9, 2011, Plaintiif made a loan to Anthony Gabriel, a resident of
Alasl<a (“Gabriel”) in the amount of Twenty Thousand and 00/ 100 Dollars ($20,000.00)
(“Loan”).

IV.

ln connection with the Loan, Gabriel agreed to tender salmon for Plaintiff with the
Vessel in Bristol Bay, Alaska.

V.

Gabriel as owner thereof granted a Preferred Ship Mortgage on the Vessel to
Plaintiff (“Mortgage”) on June 9, 2012, to secure repayment of the Loan. See Exhibit A
attached hereto.

VI.
The maturity date of the Loan is December 31, 201]. See Exhibit A.
VII.

Plaintiff is the owner and holder of the Loan and Mortgage on the Vessel.

COMPLAINT TO FORECLOSE PREFERRED

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VIIl.

To secure the payment of the Loan, the Mortgage conveys to Plaintitf the whole of
the Vessel. See Exhibit A.

IX.

Gabriel defaulted in his performance by his failure to make the required payment
due on or before December 31, 2011. No payments on the Loan were ever made.

X.

Alaska law provides for interest on money after it is due at ten and a half percent
(10.5%) a year. AS 45.45.010(a).

XI.

That the laws of the United States provide that, upon a default of any term of a
preferred mortgage, the mortgage holder may enforce its claim for outstanding
indebtedness against the mortgaged vessel, in rem, 46 U.S.C. § 3|325.

XII.

From 2011 to the present, Gabriel purchased necessaries from Santaska, lnc., d/b/a
Alaska Village (“Santaska”); specifically, Gabriel stored the Vessel upon Santaska’s
property The Vessel is indebted for such necessaries in the amount of $6,500, which shall
increase by $2,500 (the annual storage charge) to a total of $8,000 effective as of June 1,

2014 (the renewal date) (“Storage Lien”).

COMPLAINT TO FORECLOSE PREFERRED

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CAPE GREIG, LLC v. F/VPINTA]L, et a!. IELEPHONE 1206) 292-3008

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XIII.
Cape Greig, LLC is the owner and holder of Santaska’s claims against the Vessel
by assignment from Santaska.
WHEREFORE, Plaintiff prays for judgment as follows:
l. That this Court decree payment due by the defendants for the following:

a. The sum of $20,000.00, plus interest at 10.5% a year after
December 31, 2011;

b. Additional expenses of $6,500.00 for necessaries provided to the
mortgagee for storage, with an additional $2,500 should the Vessel continue to be in
storage at Santasl<a as of June l, 2014;

c. Reasonable attorneys’ fees; and

d. The costs of this action including charges for all fees for keepers
and their costs incurred in this action and for all expenses for the sale of the Vessel, her

engines, machinery, and appurtenances, etc.
2. That Plaintiff be adjudged the holder of a first preferred ship mortgage on
the Vesse| for the payment of sums due, including costs and attorneys’ fees, and that this

Court declare the lien of the Mortgage to be superior to all other liens that may exist

against the Vessel.

3. That the Storage Lien be adjudged superior to other liens, except for the

lien of the Mortgage, that may exist against the Vessel.

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4. That the Mortgage be foreclosed and the Vessel be sold by the U.S.
Marshal and the proceeds of the sale be applied and delivered to pay demands and claims
of Plaintiff in the amount and to the extent as specifically set forth herein, together With
costs and attorneys’ fees, and that it be declared that any and all persons, firms or
corporations claiming any interest in the Vessel are forever barred and foreclosed of and
from all rights of equity or redemption or claim in and to the Vessel.

5. That the Storage Lien be foreclosed.

6. That in rem process in due form of the law issue against the Vessel.

7. That at the sale of the Vessel by the U.S. Marshal, Plaintiff be permitted to
bid, without cash deposit, its judgment, accrued interest, costs and attorneys’ fees, up to
the full amount thereof.

8. That Plaintiff has such other and further relief as in law and equity it may
be entitled to receive.

DATED this 19th day Of May, 2014.

HOLMES WEDDLE & BARCOTT, P.C.

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COMPLAINT TO FORECLOSE PREFERRED
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VERIFICATION
UNITED STATES OF AMERICA )
) ss.
STATE OF WASHINGTON )

John Sund, being first duly sworn, upon oath deposes and states upon information
and belief:

1 am a manager of Cape Greig, LLC, have read the above and foregoing
Complaint, know the contents thereof and believe the same to be true. l declare under

penalty of perjury under the laws of the United States ofAmerica that the foregoing is true

..,//r,r,l

Jolin Sund, Manager, Cape Greig, LLC

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and correct.

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